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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                               Case No. 15-20457
                                                      Hon. Matthew F. Leitman
v.

SHAWN PEARSON and
DWAYNE DUPREE

           Defendant.
_________________________________________________________________/

                 ORDER DENYING DEFENDANTS’ MOTION
                TO EXCLUDE EXPERT TESTIMONY (ECF #106)

      In this criminal case, the government seeks to admit expert testimony from Special

Agent Joseph Jensen concerning the location of certain cell phones. On September 22,

2016, Defendant Shawn Pearson (“Pearson”) filed a motion to exclude the expert testimony

(the “Motion”). (See ECF #106.) Defendant Dwayne Dupree joined the Motion. (See ECF

#107). The Court held a Daubert hearing on January 27, 2017 (the “Daubert Hearing”).

For the reasons stated on the record at the Daubert Hearing, the Motion is DENIED.

Special Agent Jensen may offer his proposed opinion testimony subject to the limitations

and in the manner stated by Court at the Daubert Hearing.

      IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE
Dated: January 30, 2017
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I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on January 30, 2017, by electronic means and/or ordinary mail.

                                                s/Holly A. Monda
                                                Case Manager
                                                (313) 234-5113
